Case 1:19-cv-01349-DDD-JPM Document 34 Filed 09/29/21 Page 1of1PagelID#: 96

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

 

ALEXANDRIA DIVISION
ROY MYERS CASE NO. 19-cev-1349
-Vs- JUDGE DRELL
US DEPART OF HEALTH & HUMAN MAGISTRATE JUDGE PEREZ-MONTES
SERVICES ET AL
RULING

Before the court is the “United States’ Motion to Dismiss Pursuant to Fed.R.Civ.P.
25(a)(1)” wherein the government seeks dismissal of the instant action instituted by Roy Myers.
Mr. Myers died on June 22, 2020 and despite the government’s efforts to notify Mr. Myers’ next
of kin, Misty George, that should could move to substitute herself as the proper party, no
appearance has been made.

The government filed a suggestion of death on April 12, 2021. On May 17, 2021, the
written notice of death was served upon Ms. George pursuant to Fed.R.Civ.P. 4 on May 17, 2021.
Ms. George had 90 days to seek leave to substitute herself as the plaintiff in this case, yet no motion
and no other appearance were made. Accordingly, the court must comply with the provisions of
Fed.R.Civ.P. 25(a)(1) and dismiss the action.

A judgment in conformity with these findings will be issued this date.

THUS DONE AND SIGNED at Alexandria, Louisiana this 2G day of September 2021.

Sar ee

DEE D. DRELL, JUDGE
UNITED STATES DISTRICT COURT

 
